        Case 1:20-cv-03010-APM Document 75-3 Filed 12/17/20 Page 1 of 1




                                 CERTIFICATE OF SERVICE


       I hereby certify that on the 17th day of December 2020, I electronically filed the

foregoing Motion by Prospective Plaintiff States of Wisconsin and Michigan for Joinder as

Plaintiffs in the Instant Action, Prospective Plaintiff States of Wisconsin and Michigan’s

Memorandum of Law in Support of Motion for Joinder as Plaintiffs and [Proposed] Order

Granting Moving Parties States of Wisconsin and Michigan’s Motion for Joinder with the

Clerk of the Court using the CM/EMF System which will then send a notification of such

filing (NEF) to all counsel of record.


                                           /s/Gwendolyn J. Lindsay Cooley
                                            Gwendolyn J. Lindsay Cooley
